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 1
                                 UNITED STATES DISTRICT COURT
 2                             NORTHERN DISTRICT OF CALIFORNIA
 3   THERESA SWEET, et al                                  Case No.: 19-cv-03674-WHA
 4
                     Plaintiffs,
 5
            v.
 6
     MIGUEL CARDONA, in her official
 7   capacity as Secretary of the United States
     Department of Education, and the UNITED               DECLARATION OF LAURA DADICH
 8
     STATES DEPARTMENT OF EDUCATION
 9
                     Defendants.
10

11

12

13
            I, Laura Dadich, state as follows:
14
            1.       I am submitting this declaration in relation to the above-captioned case.
15
            2.       I am a woman in my 40s currently living in Nashville, Tennesse.
16
            3.       From 2006 to 2008, I attended Katherine Gibbs College in Melville, New York.
17
     Katherine Gibbs was then puchased by SBI, a division of Sanford Brown. I continued taking
18
     classes at SBI from 2010 to 2011.
19
            4.       At Katherine Gibbs/SBI, I was studying to become a nurse.
20
            5.       In January 2013, I moved to Minnesota and tried to continue my studies. But I
21
     found that none of the colleges I applied to would accept my credits from Katherine Gibbs/SBI,
22
     even though representatives from those schools had told me that the credits would be
23
     transferable.
24
            6.       I had to start my education over. I attended North Hennepin Community College,
25
     along with various other MNSCU (Minnesota State Colleges and Universities) schools, to try to
26
     obtain the prerequisites I needed for nursing school. But eventually I had to quit school to pay
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 1   down my loans from Katherine Gibbs/SBI because I had maxed out the amount of federal

 2   student loans I was allowed to take out for undergraduate programs.

 3          7.      I was never able to become a nurse. Instead, I have spent many years working as a

 4   GI technical specialist (assisting with colonoscopies and endoscopies).

 5          8.      I borrowed federal student loans in order to attend Katherine Gibbs/SBI and then

 6   North Hennepin Community College/MNSCU.

 7          9.      In 2016, I consolidated my loans from Katherine Gibbs/SBI (which were a mix of

 8   Direct and FFEL loans) and North Hennepin Community College/MNSCU into two federal

 9   Direct Consolidation Loans. The initial combined balance of these two Consolidation Loans was
10   $65,635 ($26,516 in principal from Katherine Gibbs/SBI; $30,500 in principal from North
11   Hennepin Community College/MNSCU; plus accumulated interest). I have made payments on
12   these loans during various periods over the years.
13          10.     I submitted a borrower defense application in September 2015 relating to my
14   loans from Katherine Gibbs/SBI.
15          11.     In February 2023, I received a notice from the Department of Education telling
16   me that my loans from Katherine Gibbs/SBI would be discharged because of the settlement in
17   the above-captioned case. I understand this means that I am a member of the “automatic relief
18   group” under the settlement.
19          12.     My loan servicer is MOHELA.
20          13.     In October 2023, I received a discharge of some, but not all, of my Katherine
21   Gibbs/SBI loans, resulting in a decrease in my Consolidation Loan balances.
22          14.     On March 11, 2024—about six weeks after the automatic relief group deadline—
23   my Consolidation Loan balances decreased again, which I believe reflects a discharge of my
24   remaining Katherine Gibbs/SBI loans.
25          15.     However, I cannot tell from my student loan account information whether these
26   discharges account for the interest attributable to my Katherine Gibbs/SBI loans, or only the
27   principal.
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 1          16.     Additionally, I have not yet received any refund under the settlement in this case.

 2   I am owed a refund of amounts I paid on my Direct Consolidation Loans that are atttributable to

 3   the Katherine Gibbs/SBI loans. I am also owed a refund of any amounts I paid on my Direct

 4   Loans from SBI before consolidation.

 5          17.     I have tried multiple times to get payment history information about my loans

 6   from Navient, which was my servicer until 2021 (when my accounts were transferred to

 7   MOHELA), so that I can try to calculate the amount of the refund I am owed. But Navient has so

 8   far either claimed that the information is not available, or promised to send me the information

 9   and then never followed through. My recollection is that I paid about $9,000 on the

10   Consolidation Loans before the COVID payment pause began.

11          18.     The effect of these loans on my life over the years has been enormous. Because of

12   my Katherine Gibbs/SBI loans, I wasn’t able to finish my education as a nurse; now, at my age, I

13   feel like it’s too late to go back to school. Last year I was finally able to purchase a home, but my

14   debt-to-income ratio meant that I was not able to get a competitive interest rate.

15          19.     The delay in receiving my refund under the settlement is causing me ongoing

16   harm. I have put off dental work because of my student loans, which the refund could help pay

17   for. I also have about $16,000 in private loans from Katherine Gibbs/SBI that are not eligible for

18   the Sweet settlement, which continue to hang over my head. I have been making payments on

19   those loans every month, but I can only afford to pay the interest, so the balance never goes

20   down. I would like to use some of my refund money to pay down those loans so that I can finally

21   be closer to ending this nightmare.

22          20.     I have paid thousands of dollars over more than a decade toward worthless credits

23   from Katherine Gibbs/SBI. Learning that my federal loans would be forgiven and refunded under

24   this settlement was a great relief, but now the wait to see whether and when my relief will

25   actually arrive is causing me renewed stress. Being able to finally put this matter to rest would

26   help me sleep better at night.

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                                                       3
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 1         I swear under penalty of perjury that the foregoing is true and correct.

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                       
 3   Executed on   ______________, 2024, in ______________________________ (county, state).

 4

 5                                               __________________________
                                                 Laura Dadich
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 1
                                 UNITED STATES DISTRICT COURT
 2                             NORTHERN DISTRICT OF CALIFORNIA
 3   THERESA SWEET, et al                                 Case No.: 19-cv-03674-WHA
 4
                     Plaintiffs,
 5
            v.
 6
     MIGUEL CARDONA, in her official
 7   capacity as Secretary of the United States
     Department of Education, and the UNITED              DECLARATION OF MICHAEL
 8
     STATES DEPARTMENT OF EDUCATION                       MCDONALD
 9
                     Defendants.
10

11

12

13
            I, Michael McDonald, state as follows:
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            1.      I am submitting this declaration in relation to the above-captioned case.
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            2.      I live in Oil City, PA, a small town in the northwestern region of Pennsylvania. I
16
     have lived in Oil City for most of my life.
17
            3.      I am a 39-year-old single father of a 7-year-old child.
18
            4.      Shortly after high school, I briefly attended a small business college in my
19
     hometown called Dubois Business College. But I soon realized that business was not for me, so I
20
     enrolled in the criminal justice program at the nearby University of Pittsburgh-Titusville campus.
21
     Before I could finish my program at Titusville, I realized that I needed to work full-time to
22
     support myself, so I withdrew. I had seen advertisements for the University of Phoenix, and the
23
     flexibility of its online programs seemed perfect for what I needed. I enrolled in a criminal
24
     justice program at University of Phoenix in 2011.
25
            5.      Unfortunately, once I enrolled, I realized that the advertisements had been false
26
     promises. My classes barely taught me anything. Because I wanted to finish my degree, I
27

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                                                      1
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 1   continued at University of Phoenix until I graduted in 2014. But I have never gotten a job in my

 2   field of study.

 3           6.        I borrowed federal student loans in order to attend University of Phoenix,

 4   University of Pittsburgh-Titusville, and Dubois Business College.

 5           7.        Near the end of my time at University of Phoenix, one of the financial aid

 6   representatives convinced me to consolidate my federal student loans. I did not fully understand

 7   the process or why it was important, but I went along with it.

 8           8.        Now I have two federal Direct Consolidation Loans, which each contain a

 9   combination of loans from University of Phoenix, University of Pittsburgh-Titusville, and

10   Dubois Business College.

11           9.        When I first combined my loans into the two Consolidation Loans, the combined

12   balance was $69,775 ($32,242 in principal from the University of Phoenix; $23,049 in principal

13   from University of Pittsburgh-Titusville; $6,625 in principal from Dubois Business College; and

14   accumulated interest). Now my total combined Consolidation Loan balance is $84,888—an

15   increase of over $15,000, even though I have never been in default.

16           10.       I submitted a borrower defense to repayment application on March 19, 2021,

17   relating to my loans from the University of Phoenix.

18           11.       I received a notice from the Department of Education on February 28, 2023,

19   telling me that I am a class member in the above-captioned case and my University of Phoenix

20   loans would be discharged. I understand this means that I am a member of the “automatic relief

21   group” in this case.

22           12.       My loan servicer is MOHELA.

23           13.       I have not yet received any relief under the Sweet settlement.

24           14.       As of the date of this declaration, MOHELA has not subtracted any of the

25   principal or interest associated with the University of Phoenix loans from my Consolidation

26   Loan balance. There has not been any decrease in my Consolidation Loan balance since I

27   received notice from the Department of Education that the University of Phoenix loans would be

28   discharged.
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 1           15.      I also have not received a refund of any of the money I paid toward the

 2   Consolidation Loans that was attributable to the University of Phoenix loans.

 3           16.      The full balance of my Consolidation Loans is still appearing on my Experian

 4   credit report.

 5           17.      I currently work for the state of Pennsylvania at a mental health facility. I used to

 6   work at a facility close to my home, but the state shut it down. In order to keep my job, I had to

 7   apply for a transfer to another facility. Now I drive 100 miles round-trip to and from work every

 8   day.

 9           18.      I am trying to find a home for myself and my child that’s closer to where I work,

10   but both the rent and home prices are higher in that area. Because of my student loan debt—more

11   than half of which is from the University of Phoenix—I can’t get any kind of loan without a co-

12   signer. I cannot buy a car on my own, much less a house. I’ve been told no by every mortgage

13   lender in my area; in many cases, they won’t even run a full credit check once they see how high

14   my debt-to-income ratio is.

15           19.      I was counting on the discharge, refund, and credit repair from the Sweet case to

16   allow me to find a suitable place for my family to live. Every day that the relief is delayed is

17   another day when I have to make my 100-mile commute, which takes away from time that I

18   could otherwise spend with my child.

19           20.      These loans from the University of Phoenix for a worthless education have been a

20   burden on me for a decade now. When I heard that they would be discharged, I thought the stress

21   would finally be over. But instead, I now have a new source of stress, wondering if or when the

22   government is going to keep its promise.

23           I swear under penalty of perjury that the foregoing is true and correct.

24
                 March 15, 2024
     Executed on _________________,         Venango County, Pennsylvania
                                    2024 in ______________________________ (county, state).
25

26

27                                                   __________________________
                                                     Michael McDonald
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                                                        3
                                                                                         DECLARATION
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